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FoR THE wEsTERN msch oF TENNESSEE

Pyramcx Sat`cty Products, LLC, )
)
Plaintiff, ) 113
v. ) Civil Action No.: 05-62-73 -MaV
) JU'RY DEMAND
)
Gloves, Inc. )
)
Defendant. )

CONSENT JUDGMENT

Upon agreement of the parties, as evidenced by the signatures of their counsel below, it is
the Judgment of this Court:

1. Plaintifi` Pyramex Safety Products, LLC, (“Pyramex”) filed this action for patent
inningement pursuant to 35 U.S.C. § 271 against Det`endant Glovcs, Inc. (“Gloves”) on May 20,
2005.

2. This Cou.rt has jurisdiction of the subject matter of this action under 28 U.S.C. §§
1331 and l338(a).

3. This Court has jurisdiction of the parties to this action.

4. On June 3, 2003, United Statcs Design Patent No. D475394 (the “Patent”) was `
issued for the ornamental design for eyeglasses, listing Shun-Tien Yang as the inventor and All-
Logic Int. Co., Ltd. as the assignee (“All-Logic”). All-I_ogic is the current owner of all right,
title and interest in and to the Patent. Pyrarnex is the exclusive licensee under the Patent to
import, use, sell, and to bring legal actions for infringement of the Patent in the United States.

5 . The Patent was duly and legally issued, is valid and is enforceable

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6. All-Logic and Pyramex have never licensed or permitted Glovcs to practice any
of the legal rights granted under the Patent.

7. Gloves has made, used, offered to sell, and/or sold within the United States and
this judicial district, or imported into the United States eyeglasses that infringe the claims of the '
Patent under 35 U.S.C. § 271.

8. Gloves and its respective officers, agents, servants, cmployees, and attorneys, and
those persons in active concert or participation with them who receive actual notice of the
Judgrnent by personal service or otherwise, are hereby permanently enjoined ii'om committing
further acts of infringement under 35 U.S.C. § 271 of the claims of the Patent pursuant to 35
U.S.C. § 283. Notwithstanding the above,Gloves shall have the right to sell its remaining
inventory (consisting of 5,370 units) of the glasses in question, and such sale of the glasses in
question, and advertisement of the glasses in question at Gloves' internet web site (through the `
earlier of December 31, 2005, or until such time as the remaining units are sold), shall not be

considered a violation of the above injunction ncr an infringement of the Patent.

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United States District Iudge

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Notice of Distribution

This notice confirms a copy of the document docketed as number 5 in
case 2:05-CV-02373 Was distributed by faX, mail, or direct printing on
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Joel T. Galanter

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Honorable Samuel Mays
US DISTRICT COURT

